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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                               VALDOSTA DIVISION
 KRISTEN DOMINIGUE and CASEY
 DOMINIGUE,
       Plaintiffs,
                                               Civil Action No. 7:20-CV-98 (HL)
 v.
 FORD MOTOR COMPANY,
       Defendant.


                                       ORDER
      Before the Court is Defendant Ford Motor Company’s Motion for

Certification of Question to the Supreme Court of Georgia. Plaintiffs filed a motion

in limine seeking to exclude the introduction of any evidence concerning Plaintiffs

Kristen and Casey Dominigue’s use of a seatbelt at the time of the underlying

accident. Plaintiffs argue this evidence is prohibited by O.C.G.A. § 40-8-76.1(d)

and otherwise is irrelevant to their claim that Defendant designed a faulty airbag

system. Defendant moves the court to certify a question to the Georgia Supreme

Court to clarify the application and constitutionality of O.C.G.A. § 40-8-76.1(d) in

the context of a products liability lawsuit.

      The Court held a hearing on September 14, 2021. Upon consideration of the

parties arguments, the Court has decided on its own motion to certify a question

to the Supreme Court of Georgia. Because the Court has decided sua sponte to
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certify a question to the Supreme Court of Georgia, Defendant’s Motion for

Certification of a Question is MOOT.

      Resolution of this issue is vital to pending motions in this case. Accordingly,

the Court stays all proceedings pending a response from the Supreme Court of

Georgia.

      IT IS SO ORDERED, this 6th Day of October, 2021.

                                s/ Hugh Lawson_______________
                                HUGH LAWSON, SENIOR JUDGE
